     Case 2:22-cv-03698-FMO-AFM Document 1 Filed 05/31/22 Page 1 of 4 Page ID #:1



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 4
                                    UNITED STATES DISTRICT COURT
 5
                                   CENTRAL DISTRICT OF CALIFORNIA
 6                                      LOS ANGELES DIVISION

 7    Jairo Tinoco,                                         Case No.
 8
            Plaintiff,
 9                                                              COMPLAINT FOR DAMAGES UNDER
      v.                                                           THE FAIR DEBT COLLECTION
10                                                               PRACTICES ACT, ROSENTHAL FAIR
11
      American Recovery Service Incorporated                    DEBT COLLECTION PRACTICES ACT,
      c/o National Registered Agents Inc,                         AND OTHER EQUITABLE RELIEF
12    208 SO Lasalle ST, Suite 814
      Chicago, IL 60604
13                                                          Jury Demand Requested
14
            Defendant.

15

16                                        JURISDICTION AND VENUE

17     1. This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C. §1692k(d).
18
       2. Venue is proper because a substantial part of the events giving rise to this claim occurred in this
19
           District.
20
                                                     PARTIES
21

22     3. Plaintiff is a resident of the State of California.

23     4. Plaintiff is a “consumer” as defined in the Fair Debt Collection Practices Act, 15 USC 1692 et
24
           seq. (“FDCPA”).
25
       5. Plaintiff incurred a “Debt” as defined in the FDCPA.
26
       6. Defendant is a company with its principal office in the State of California.
27

28     7. Defendant acquired the Debt after it was in default.




                                                    COMPLAINT - 1
     Case 2:22-cv-03698-FMO-AFM Document 1 Filed 05/31/22 Page 2 of 4 Page ID #:2




       8. Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after the
 1

 2        same were in default.

 3     9. Defendant uses instruments of interstate commerce for its principal purpose of business, which is
 4
          the collection of debts.
 5
       10. At all times relevant, Defendant was a “debt collector” as defined in the FDCPA.
 6

 7
                                     FACTS COMMON TO ALL COUNTS

 8     11. On or around November 19, 2021, Plaintiff’s attorney sent a letter to Defendant notifying
 9        Defendant that Plaintiff was represented by an attorney with respect to the Debt.
10
       12. Despite having notice of Plaintiff’s representation, Defendant communicated with Plaintiff at
11
          least one (1) more time thereafter.
12

13     13. By communicating with Plaintiff after having notice of Plaintiff’s representation, Defendant

14        violated the FDCPA.
15
       14. By communicating with Plaintiff after having notice of Plaintiff’s representation, Defendant
16
          violated the Rosenthal FDCPA.
17
       15. Defendant damaged Plaintiff.
18

19                                     COUNT I – FDCPA VIOLATION

20     16. Plaintiff incorporates all the allegations and statements made above as if reiterated herein.
21
       17. Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading methods to
22
          collect a debt.
23

24
                                       COUNT II – FDCPA VIOLATION

25     18. Plaintiff incorporates all the allegations and statements made above as if reiterated herein.
26     19. Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to
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          collect, or attempt to collect, the Debt.
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                                                      COMPLAINT - 2
     Case 2:22-cv-03698-FMO-AFM Document 1 Filed 05/31/22 Page 3 of 4 Page ID #:3




                                       COUNT III – FDCPA VIOLATION
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 2     20. Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

 3     21. Defendant violated 15 USC § 1692c(a)(2) by communicating with Plaintiff after having notice of
 4
           attorney representation.
 5
                                      COUNT IV – ROSENTHAL FDCPA
 6

 7
       22. Violation of the Rosenthal Fair Debt Collection Practices Act.

 8     23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
 9     24. Defendant violated California Civil Code §1788.14(c) by communicating with Plaintiffs despite
10
            having written notice that Plaintiffs were represented by an attorney.
11
                                                 JURY DEMAND
12

13     25. Plaintiff demands a trial by jury.

14                                           PRAYER FOR RELIEF
15
       26. Plaintiff prays for the following relief:
16
            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at trial, suffered as
17
                a direct and proximate result Defendant’s violations of the Fair Debt Collection Practices
18

19              Act, pursuant to 15 U.S.C. §1692k(a)(1);

20          b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s violations of
21
                the Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(2)(A);
22
            c. Judgment against Defendant for $1,000 in statutory damages for Defendant’s violations of
23

24
                the California Rosenthal Fair Debt Collection Practices Act, pursuant to California Civil

25              Code §1788.30(b);
26          d. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs incurred in
27
                this action, pursuant to 15 U.S.C. §1692k(a)(3) and California Civil Code §1788.30(c); and
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                                                       COMPLAINT - 3
     Case 2:22-cv-03698-FMO-AFM Document 1 Filed 05/31/22 Page 4 of 4 Page ID #:4




           e. Any other legal and/or equitable relief as the Court deems appropriate.
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 2

 3                                              RESPECTFULLY SUBMITTED,
 4
                                                The Litigation Practice Group
 5
                                                By: /s/ Richard J. Meier
 6
                                                Richard J. Meier, Esq.
                                                Attorneys for Plaintiff
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                                                COMPLAINT - 4
